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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAWN L. BROWN,           :                     CIVIL ACTION NO. 1:15-CV-918
             Plaintiff   :
                         :                     (Chief Judge Conner)
         v.              :
                         :
COMMONWEALTH OF          :
PENNSYLVANIA, DEPARTMENT :
OF CORRECTIONS,          :
             Defendant   :

                    AMENDED CASE MANAGEMENT ORDER

      1.     COUNSEL AND PRO SE LITIGANTS ARE RESPONSIBLE FOR
READING THIS ENTIRE ORDER. For the convenience of counsel, a schedule
of important dates follows, however, details regarding said dates/deadlines are
contained in the body of this order:

      Jury Selection/Trial Date                     January 7, 2019 at 9:30 a.m.
      Fact Discovery Deadline                       June 29, 2018
      Dispositive Motions & Supporting Briefs       August 6, 2018
      Motions in Limine & Supporting Briefs         November 5, 2018
      Final Pretrial Conference                     December 18, 2018 at 10:00 a.m.
      Pretrial Memoranda                            December 11, 2018 by 12:00 p.m.
      Plaintiff’s Expert Report(s)                  August 6, 2018
      Defendant’s Expert Report(s)                  September 5, 2018
      Supplemental/Rebuttal Expert Report(s)        September 19, 2018
      Proposed Voir Dire Questions                  December 18, 2018
      Proposed Jury Instructions                    December 18, 2018

      2.       Counsel are encouraged to consent to the disposition of this case by

the United States magistrate judge pursuant to 28 U.S.C. § 636(c).

      3.       The captioned case is placed on the January 2019 trial list. Jury

selection for trials on the January 2019 list will commence at 9:30 a.m. on Monday,

January 7, 2019, in Courtroom No. 2, Ninth Floor, Federal Building, Third and


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Walnut Streets, Harrisburg, Pennsylvania. COUNSEL ARE ATTACHED FOR

TRIAL. Trials will commence following the completion of jury selections. Counsel

should note that criminal matters take priority and may delay the beginning of the

civil trial list.

        4.       The court issues this order pursuant to Rule 16 of the Federal Rules of

Civil Procedure. The views of counsel of all represented parties, as to how and on

what schedule pretrial matters should be conducted, have been solicited at the

scheduling conference. Counsel shall not mutually agree to extend any time

periods covered by this order, the local rules, or the Federal Rules of Civil

Procedure without the approval of the court. Requests for extensions of the

following time periods will not be granted except under exceptional

circumstances and must comply with Local Rule 7.5. All written requests for

continuance of discovery deadlines or trial shall be signed by counsel in

conformity with the Civil Justice Reform Act of 1990, 28 U.S.C. § 473(b)(3).

Furthermore, all requests for extensions of the discovery deadline must be made

at least thirty (30) days prior to the expiration of the discovery period. The

court will entertain a conference call, if agreed upon by counsel, to resolve time

periods and discovery issues.

        5.       DISCOVERY:

                 (a) Counsel shall not cease active discovery pending disposition of a

        motion to dismiss.


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         (b) All fact discovery (expert witness discovery dates noted below)

shall be completed by June 29, 2018, the parties expeditiously and diligently.

In the event that discovery disputes arise and are not resolved after counsel

attempt in good faith to do so, the matter shall be brought before the court by

way of a telephone conference rather than through the filing of formal

motions.

         (c) Plaintiff’s expert report(s) shall be due on or before August 6, 2018.

         (d) Defendant’s expert report(s) shall be due on or before September 5,

2018.

         (e) Supplemental/Rebuttal expert witness reports shall be due on or

before September 19, 2018.

6.       MOTIONS:

         (a) Dispositive motions and supporting briefs must be filed by

August 6, 2018. If both a dispositive motion and its supporting brief are not

filed on or before the aforementioned deadline, the motion will not be

accepted, absent prior leave of court. Briefs in support, in opposition and in

reply to summary judgment motions may be up to fifteen (15) pages in length,

pursuant to Middle District Local Rules. In multiple defendant cases, any

defendant contemplating a dispositive motion shall confer with other defense

counsel and shall agree to file joint motions and briefs whenever possible.

Those parties needing to brief separate issues may do so by filing separate


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briefs. Parties filing motions for summary judgment shall comply with Middle

District Rule 7.4.

         (b) Motions in limine and supporting briefs shall be filed no later than

November 5, 2018. Motions to exclude expert testimony, which require a

Daubert hearing, shall be filed no later than thirty (30) days from receipt of

the expert report.

7.       PRE-TRIAL MATTERS:

         (a) A final pretrial conference will be held on December 18, 2018, at

10:00 a.m., in Courtroom No. 2, Ninth Floor, Federal Building, Third and

Walnut Streets, Harrisburg, Pennsylvania. Counsel as well as litigants

must be present at this conference in order to have effective settlement

discussions.

         (b) Local Rule 16.2, as it relates to settlement authority, will apply to

this conference.

         (c) On or before 12:00 p.m. on December 11, 2018, each party shall file

a pretrial memorandum in conformity with the local rules. Failure to timely

file pretrial memoranda will result in an appropriate sanction. Fed. R. Civ.

P. 16(f).

         (d) Proposed voir dire questions shall be due on or before

December 18, 2018.




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        (e) Proposed jury instructions shall be due on or before December 18,

2018.

        (f) In non-jury cases, counsel shall meet within four (4) weeks after the

close of discovery and discuss settlement. Subsequent to that meeting,

counsel shall notify this court if they would like the assistance of the United

States Magistrate in conducting a formal settlement conference.

        (g) THREE WEEKS prior to the date scheduled for the submission

of the pretrial memoranda, counsel for the parties shall hold the

attorneys’ conference required by Local Rule 16.3. This conference shall

be face-to-face unless the court, upon written request, approves another

arrangement. Failure of the plaintiff to initiate the holding of the

conference or the defendant to respond to such initiative in an appropriate

manner may result in the imposition of sanctions, including possible

dismissal of the action.

        (h) Counsel who will try the case shall attend the pretrial conference

unless the court, upon written request, approves the substitution of another

attorney who is fully familiar with the case and has the settlement authority

required by Local Rule 16.2.




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               (i) At the pretrial conference, counsel for the plaintiff shall be required

      to set forth the elements of the particular type of claim (or claims) being

      made. Counsel for the defendant shall be required to identify any legal

      defenses he/she expects to make. It should be noted that the court expects

      to hold counsel for both sides to the course they outline here unless good

      cause is shown for allowing additional legal theories, claims and/or defenses

      to be argued at trial and unless this court is apprised of these additional legal

      theories, claims and/or defenses in sufficient time to consider and evaluate

      them before trial.

               (j) No later than the pretrial conference counsel shall notify the court if

      they wish to employ the summary jury trial procedure.

      8.       Pro se litigants are requested to file all documents in this case with the

Clerk of Court, P. O. Box 983, Room 920, Federal Building, Harrisburg, PA 17108.

In all other cases, courtesy copies are discouraged unless requested by the court or

when the filing is voluminous.

      9.       If the parties intend to use depositions at trial in place of live

testimony, they shall review the depositions prior to the time of trial. If there are

objections which cannot be resolved among counsel, said objections and copies of

the relevant depositions shall be submitted to the court at least fifteen (15) days

prior to trial. Where counsel have failed to meet the time requirement in this

paragraph, the court may, in its discretion, deem the objections withdrawn. If the


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depositions to be used are videotaped, a transcript must be provided to the court in

advance of trial.

       10.    Videotape equipment shall be set up in the courtroom prior to the

commencement of trial in the morning, if its use is anticipated in the morning, or

during the lunch break, if its use is anticipated in the afternoon.

       11.    Whenever any civil action scheduled for jury trial is settled or

otherwise disposed of in advance of the actual trial, jurors' costs, including mileage

and per diem, shall be assessed equally against the parties unless the Clerk's Office

at the place the trial is to be held is notified of the settlement in sufficient time to

permit the Clerk to advise the jurors that their attendance will not be necessary.

Notice to such Clerk's Office before 2:00 p.m. on the last business day preceding the

day on which the trial of the action is to start shall be adequate for such purpose.

       12.    Prior to the commencement of trial, counsel shall submit three (3)

complete exhibit lists (see attached form) and three (3) complete sets of exhibits for

the court’s use, in addition to the original which will be offered into evidence.




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      13.    Should counsel wish to have the JERS (Jury Evidence Recording

System) utilized for the presentation of admitted exhibits to the jury during

deliberations, counsel must submit complete and properly formatted discs

containing said exhibits to the courtroom deputy five (5) business days prior to jury

selection.



*Pre-Trial Memo forms available on our website: http://www.pamd.uscourts.gov


                                  /S/ CHRISTOPHER C. CONNER
                                 Christopher C. Conner, Chief Judge
                                 United States District Court
                                 Middle District of Pennsylvania

Dated:       April 3, 2018



Chambers - Phone (717) 221-3945; Fax (717) 221-3949
Judge Conner’s Courtroom Deputy - Phone (717) 221-3920
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   (CHIEF JUDGE CONNER)                           EXHIBIT LIST                                 Page ___ of ____

                                                                          Case Name: ____________________________
                                                                          Case Number:__________________________


Plaintiff   Defendant       Description of Item              Identified   Ruling   Evidence         Witness
